AO 187 (Rev. 7/87) Exhibit and Witness List

  

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United States District Court DEP CLERK
Eastern District of Arkansas

 

 

 

 

 

 

 

 

 

 

 

 

 

 

SOUTHEASTERN EMERGENCY ARKANSAS HEALTH & EXHIBIT AND WITNESS LIST
PHYSICIANS, LLC V. WELLNESS HEALTH PLAN, INC. CASE NUMBER. 4:17-cv-00492-BSM
PRESIDING JUDGE PLAINTIFF'S ATTORNEY DEFENDANT'SATTORNEY

Brian S. Miller Lyn P. Pruitt Judy S. Henry

TRIAL DATE(S) COURT REPORTER COURTROOM DEPUTY

August 3, 2020 Suzanne McKennon Raeanne Gardner

No tO) OpetRep — /MARKED|ADMITTED DESCRIPTION OF EXHIBITS. AND WITNESSES

1 3/3/20 X J LOA between NovaSys Health & "Team Health"

2 4/3) 20 x JV Nework Access Services Agreement between Celtic and Novasys

3 INTENTIONALLY OMITTED

4 INTENTIONALLY OMITTED

5 ~€/ 3/20 x VW _|Email from Slover to Meldrum Re: LOA: SEP & SEPM

6 INTENTIONALLY OMITTED

7 INTENTIONALLY OMITTED

8 INTENTIONALLY OMITTED

9 INTENTIONALLY OMITTED

 

Email from Meldrum to Slover Re: SEP & SEPM

10 3/3/20 X

 

Email from McArthur to Meldrum Re: Novasys PCM # 58913 01 09 2012 Accounts not paid per contract rates

 

11 3/3/20 X
12 3/3/20 x
13 3/4/20
14 3/4/20

Email from Jonas to Hackbart Re. Check Numbers and payment dates

 

Email from Neal to Meldrum and Jonas Re: Conference Call

 

Email from Neal to Meldrum and Jonas Re: Conference Call

 

 

Email from Meldrum to Hackbart RE Team Health ER claims for adjustment

 

15 | |%/3/20 x
16 3/3/20 Xx

Email from Meldrum to Hackbart RE Team Health ER claims for adjustment

 

 

 

 

 

SRS SONS

 

 

 

 

 

 

 

17 INTENTIONALLY OMITTED

18 Z/ 4/20 Email from Jonas to Hackbart Re: Novasys

19 3 [4 / ZO Correspondence from Meldrum to SE Emergency Physicians

20 3/4/ZO Email from Ryan to Stewart & Holman Re: Revised Estimated Arkansas Region Checkbooks
21 Z/ 3/ 20 Xx Article— AHWS Receives Approval to Participate

22 s / 3 | 2O x JY Email form Slover to Meldrum RE Exchange Product

 

include a notation as to the location of any exhibit not held with the case file or not avalable because of size.

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SOUTHEASTERN EMERGENCY
PHYSICIANS, LLC

EXHIBIT AND WITNESS LIST - CONTINUATION

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y, HEALTH PLAN, INC. etal.

CASE NUMBER: 4:17-cv-00492-BSM

 

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DATE

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

NO. | NO. OFFERED |MARKED | ADMITTED DESCRIPTION OF EXHIBITS AND WITNESSES
23 INTENTIONALLY OMITTED
24 3/ uy [ZO J Ambetter Quick Reference Guide
25 &/2)/20 X (/ |Policy & Procedure - Non-Par Payment Policy
26 Email from Evers to Suggs
27 Meeting Request Re) CMS Complaints
28 @/b]20 V | Email from Richardson Re: M arketplace Lessons Learned
29 INTENTIONALLY OMITTED
30 INTENTIONALLY OMITTED
31 INTENTIONALLY OMITTED
32 INTENTIONALLY OMITTED
33 INTENTIONALLY OMITTED
34 INTENTIONALLY OMITTED
35 INTENTIONALLY OMITTED
36 Email from Kroll Re: Centene Corp. (CNC: Neutral): Solid quarter, >50% top-line growth and tax benefits
37 INTENTIONALLY OMITTED
38 INTENTIONALLY OMITTED
39 INTENTIONALLY OMITTED
40 Celtic Insurance Company - Annual Statement for the Y ear Ending 12/31/2014
41 $/ 3) 20 X y/ |Insurance Card 2015
42 Minutes of the Quarterly Meeting of the Board of Directors of Celtic Insurance Company
43 INTENTIONALLY OMITTED
44 INTENTIONALLY OMITTED
45 o/ 3/20 x VY |12/2015 Email from Tibbits to info@celtic.com making initial contact
46 12/23/15 Portman email do not communicate with TeamHealth
47 %/3)20 Xx Y 12/23/15 Portman email do not respond to TeamHealth
48 Email from Matinez to Watters Wreschinsky RE Celtic Insurance Co. ACA Exchange & Southeastern Emergency Physicians LLC
49 INTENTIONALLY OMITTED

 

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SOUTHEASTERN EMERGENCY
PHYSICIANS, LLC

EXHIBIT AND WITNESS LIST - CONTINUATION

ARKANSAS HEALTH &
V. WELLNESS HEALTH PLAN, INC.

CASE NUMBER: 4:17-cv-00492

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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NO. NO. OFFERED MARKED | ADMITTED DESCRIPTION OF EXHIBITS AND WITNESSES
50 INTENTIONALLY OMITTED
51 INTENTIONALLY OMITTED
52 INTENTIONALLY OMITTED
53 INTENTIONALLY OMITTED
54 Novasys Financial Statements 2014-2015
55 Caltic 2015 MLR
56 Celtic Insurance Company - Annual Statement for the Y ear Ending 12/31/2015
57 S] 3] qo x J Insurance Card 2016
58 S[3/2O X J 12/23/15 Portman email advising to send emails from TH to him and response
59 Email from Bymers to Tibbits RE: Reimbursement Proposal
60 S/AY2O Xx J Email from Tibbits to Smith RE: Contracting (Ambetter AR)
61 3 [ 3/20 Xx J Email from Tibbits to Smith RE: Contracting (Ambetter AR)
62 S20 xX / Email from Tibbits to McKinney RE: Conctracting (Ambetter AR)
63 S [2 / ZO x WU |Email from Tibbits to Mcki nney Re: Contracting (Ambetter AR)
64 3S / 3] 20 Xx / Email from Shrader from Tibbits RE: Southeastern Emergency Pysicians, LLC Agrment - Secure
65 B/3/20 X WA Email from Shrader to Parks, Lempert cc: Bristow RE: Pay 9
66 INTENTIONALLY OMITTED
67 AID Letter
68 INTENTIONALLY OMITTED
69 INTENTIONALLY OMITTED
70 INTENTIONALLY OMITTED
71 INTENTIONALLY OMITTED
72 8/5/20 WV lemail from McKinney to Meldrum RE Contracting (fraud)
73 INTENTIONALLY OMITTED
74 INTENTIONALLY OMITTED
75 4/ 3/2 x W | Email from Tibbits to M cKinney RE: Conctracting (Ambetter AR)
76 o / 3/26 x J Email from Tibbits to Shrader RE: Contracting (Ambetter AR)

 

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SOUTHEASTERN EMERGENCY ARKANSASHEALTH &

PHYSICIANS, LLC V. WELLNESS HEALTH PLAN, INC. CASE NUMBER: 4:17-ev-00492
NO. NO. OFFERED MARKED | ADMITTED DESCRIPTION OF EXHIBITS AND WITNESSES

77 3/3 [ZO x J Email from McKinney to Tibbits cc: Meldrum RE: Contracting (Ambetter AR)
78 INTENTIONALLY OMITTED

79 INTENTIONALLY OMITTED

80 INTENTIONALLY OMITTED

81 INTENTIONALLY OMITTED

82 INTENTIONALLY OMITTED

83 Novasys Financial Statements 2015-2016

84 Celtic 2016 MLR

85 INTENTIONALLY OMITTED

86 %/3) 20 Xx J Insurance Card 2017

87 INTENTIONALLY OMITTED

88 G/ 3/ 20 Xx J Policy & Procedure - Non-Par Payment Policy - Emergency Services
89 Email from Tibbits to Capps RE: Arkansas Eds 338, 2137, 2175, 4578, 7979) - Eff
90 Email from Tibbits to Shrader RE: Magnolia Question

91 %/ 4] 20 x / Email from Tibbits to Shrader RE: Emailing

92 6/3/20 xX / Email from McKinney to Kelly McArthur Re: Team Health

93 INTENTIONALLY OMITTED

94 INTENTIONALLY OMITTED

95 INTENTIONALLY OMITTED

96 INTENTIONALLY OMITTED

97 INTENTIONALLY OMITTED

98 INTENTIONALLY OMITTED

99 INTENTIONALLY OMITTED

100 3 / 3]20 x / Email from Bristow to Shrader RE: Budget question

101 INTENTIONALLY OMITTED

102 Centene 2017 10K

103 INTENTIONALLY OMITTED

 

 

 

 

 

 

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PHYSICIANS, LLC Vv. Ne HEALTH PLAN, INC. CASE NUMBER: 4:17-cv-00492
NO re On eeRED MARKED | ADMITTED DESCRIPTION OF EXHIBITS AND WITNESSES

104 INTENTIONALLY OMITTED

105 Celtic 2017 MLR

106 INTENTIONALLY OMITTED

107 INTENTIONALLY OMITTED

108 /3)2O Xx J Insurance Card 2018

109 Celtic Rate Change Request Summaries 2018

110 Celtic Rate Change Request Summaries Non-CSR 2018

111 6 / 3 ) ZO x J Healthcare Financial Services Revenue Management

112 Email from Grisham to Tibbits RE: Agreement & CIN Agreement
113 Centene 2018 10K

114 INTENTIONALLY OMITTED

115 INTENTIONALLY OMITTED

116 Novasys Financial Statements 2017-2018

117 Arkansas Health & Wellness Health Plan, inc. - Annual Statement for the Y ear End
118 Celtic Insurance Company - Annual Statement Ending 12/31/2018
119 Celtic Rate Change Request Summaries 2019

120 eHealthinsurance Webpage

121 Centene 2019 10K

122 Celtic 2018 MLR

123 INTENTIONALLY OMITTED

124 INTENTIONALLY OMITTED

125 B /3f20 x VW |Provider Manual

126 INTENTIONALLY OMITTED

127 INTENTIONALLY OMITTED

128 INTENTIONALLY OMITTED

129 6/3/20 xX J Quaichoice Network Change Webpage

130 Managed Care Department Procedure M anual

 

 

 

 

 

 

 

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EXHIBIT AND WITNESS LIST - CONTINUATION

ARKANSAS HEALTH &
V. WELLNESS HEALTH PLAN, INC.,

CASE NUMBER: 4:17-cv-00492

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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NO. , NO. OFFERED MARKED | ADMITTED DESCRIPTION OF EXHIBITS AND WITNESSES
131 Z2/b(D JS Disputed claims spreadsheet
132 Commercial payers spreadsheet
133| |S/6/ZO (Z_|Disputed claims spreadsheet
134 Commercial payers spreadsheet
135 INTENTIONALLY OMITTED
136 INTENTIONALLY OMITTED
137 Spreadsheet of Novasys Claims
138| |6/4/20 UV |Ambetter EOB and EOP Documents
139 6/4 [ZO Y Correspondence from Meldrum to SE Emergency Physicians
140 Novasys Health, Inc. Financial Statements December 31, 2019 and 2018
141 INTENTIONALLY OMITTED
142 Management Agreement between Arkansas Health & Wellness Health Plan, Inc. ar
143 % /4JZo Yo 2019 Member Handbook
144 Median Participating Provider Rates
145 6/S]ZO xX Y Policy & Procedure - Non-Par Payment Policy - Emergency Services
146 Orgenizationa Meeting of the Board of Directors of Arkansas Health & Wellness, Inc. Held by Unanimous Written Consent
147 Record of Action by Unanimous Consent in Lieu of Special Meeting of the Board of Directors of Arkansas Health & Wellness Health Plan, Inc.
148 3 [3 } ZO Xx Y Email from Meldrum to Hackbart RE Copy of NOVASYS HEALTH PLAN ALCOA#58745.xIsx
149 INTENTIONALLY OMITTED
150 INTENTIONALLY OMITTED
151 INTENTIONALLY OMITTED
152 INTENTIONALLY OMITTED
153 Fee Schedule (Charge Master) Process
154 a3) 20 X VA Rate File Spreadsheet
155 Commercial CPT Detail
156 Ambetter Arkansas Claims Spreadsheet
157 Ambetter Arkansas Claims Spreadsheet

 

 

 

 

 

 

 

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159 INTENTIONALLY OMITTED
160 INTENTIONALLY OMITTED
161 INTENTIONALLY OMITTED
162 CMS ED coding 2028
163 2017 ECP Network Adequacy Tempiate
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